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                                                                                      Piled in
                                                                                               1.4 S
                   UNITED STATES BANKRUPTCY COURT OF GEORGIA                                 Athor_
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                                                                                                           c,krunte
                                                                                                             7 ),. Y court
                                NORTHERN DISTRICT                                                                   a
                                                                                                         4() ,11,svir,
                                                                                                             •   jerk



                                                                                                 '2     2021

                                                                                           Cp
                                                                                                      Crk
               CASSANDRA JOHNSON-LAN DRY
               DEBTOR                                           BRC 18-55697 LRC




               SUBMISSION: SPOUSE'S CREDIT CARD AND PAYMENTS NOT MADE BY SPOUSE OR
               DEBTOR. USBRC NG INVOLVEMENT




, .. -.1SI'tNCRA   JOHNSON-LANDRY, Debtor received the attached letter from CREDIT ONE BANK. PLEASE R.EF1

             A). All documents were uploaded to CREDIT ONE BANK VIA ONLINE. After investigation, IT appears

rr or vas baing set up by BRC and Spouse's account was sabotage. Illegal refund of money to others appear to have

   takn



  2:11' Jay c.r.:." May 2021



  assandra ohns         -Land—
                             ry,     SE
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   tT' TTfl)STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                        CERTIFICATE OF SERVICE


   I, CASSANDRA JOHNSON-LANDRY, Debtor, SUBMISSION: SPOUSE'S CREDIT CARD
   2  \ I) PAYMENTS NOT MADE BY SPOUSE OR DEBTOR. US BRC NG INVOLVEMENT

   curr en fly submit, on the 20111 Day of May- 2021. Debtor is over the age of 18 years. Debtor requests
   submitted document be distributed to parties located on Debtor's Bankruptcy Matrix.




201' Day of May 2024




Cassiia John: n-Landry, Pr
678.8643621




                                                         3
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                                 EXHIBIT A
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                         IVYT. LANDRY AND CASSANDRAJOHNSON-LANDRY
                                1440 HIGHLAND LAKE DRIVE
                                LAWRENCEVILLE, GEORGIA 30045
                                 678.860.2254 AND 678.860.3621


  MAY 20, 2021



  CREDIT ONE BANK
  P.O.BOX 98673
  LAS VEGAS, NV 89193-8873

  REGARDING ACCOUNT NUMBER: 7617
  CASE NUMBER: 20210505034


  P,EPRESENTATIVE,

  We are in receipt of your communication dated 5/12/2021, Please note all communication was read in
  its entirety. You have attached an appeared AFFADAVIT FOR CHARGE(S) which were completed
  unlawfully? The premise of OUR conversation was there WERE NUMEROUS PAYMENTS MADE by others.
  My wife, Cassandra Johnson Landry has my permission to make payments on this account however, we
  have tracked the payments and neither myself of my wife made them. The reason the card ending in
  0187 was suspended was due the numerous payment activity.

  The issue of concern pertains to the processing of payments from the identified bank account it appears
  your bank is attempting to obtain confidential information for others regarding the account which.
  payments are made from. Also, there appears to be obvious patterns of behaviors not only taking place
  with this account but, with other accounts as well.

  As you are aware my wife filed bankruptcy due to ID THEFT/FRAUD, MORTGAGE FRAUD, IRS FRAU D and
  more. If you are in communication with anyone from the US BRC of NORTHERN GEORGIA regarding my
  wife's bankruptcy you will be held legally liable. You have the recordings of ALL PHONE CALLS MADE TO
  YOUR BANK and you are aware of my wife basically, telling your representative of being aware of what
  was taking place.

  GIVEN, there has been an excessive number of payments on the account with only a 400.00 credit card
  Init and if you review the timeframe within which they were made, it appears there were refunds
  provided TO SOMEONE, NOT MYSELF NOR MY WIFE, in relation to this account. WE PERSONALLY FEEL
  CHECKS FOR THE OVERAGE OF PAYMENTSAPPEAREDTO HAVE BEEN PROVIDEDTO THE BRC OF
  NORTHERN DISTRICT.

  Due to the APPEARED RELATIONSHIP, YOUR BANK has with US BRC OF NORTHERN GEORGIA, this would
  explain everything. NEITHER the Chapter 7 or 13 Trustee has investigated anything regarding all of the
  fraud which has taken place within our lives since my wife's Bankruptcy Filing,
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  ALL of this activity began taking place AFTER MY WIFE, CASSAN DRAJOHNSON-IAN DRY uploaded the
  PHYSICAL COPY OF a 2008 Police Report which verified a vehicle break in and listed some of her
  identifying information which, the thieves could use to open accounts and more. As a matter of fact, this
  is why, she filed Bankruptcy in order for the BRC to investigate the FRAUD. For your reference,
  numerous Police Case Numbers and more were provided to the court, for the purpose of investigating
  all fraudulent actions. THIS NEVER HAPPENS! But, they were quick to steal properties and more

  We were notified by the IRS as well of the ongoing fraud. I am quite sure you were not made aware as
  the agenda of the court is to cover THEIR ILLEGAL ACTIVITY. THEY WILL NOT UTILIZE MYSELF NOR MY
  WIFE TO DO SO, WE WILL NOT BE A PARTOF BOTH YOUR BANK ANDTHE COURTS GREED! Your bank is
  attempting to coerce me into signing a document regarding fraudulent charges, Furthermore, this is
  directed towards my wife. This is HIGHLY MISLEADING, MANIPULATIVE, PRE-MEDITATED and
  SLANDEROUS recognizing it is against the law. Furthermore, you issued a new card with a new account
  number in order, to coverthe appeared MONEY LAUDERING/EM BEZZLEM ENT.

  In addition, WE are attaching copies of payrnentwhich were not made by us, Your bank IS REQUIRED TO
  complete an investigation and REPORT WHO WERE THE OVERPAYMENTS (WHICH WE DID NOT MAKE)
  SENT TOO. This is just a SCAM to cover those involved within the US BRC of Northern Georgia. AGAIN,
  we are aware of the999999 personal connections. Further actions by your bank will validate all
  uncovered findings which has been researched MY wife, CASSANDRAJOHNSON-LAN DRY will continue
  to make payments. Both numbers are my cell numbers. You can reach me at 678.860.2254.



  I AM SUBMITTING ALL OF THE PAYMENTS WHICH WERE NOT MADE BY US! I
  need you to explain why there are multiple payments in the amount of 209.95 made. I am
  not only referring to those being submitted to you but, there are many more. Your bank
  needs to track and figure these out yourself and provide a written explanation within 30
  days. This is why your bank wanted me to request for the account to be closed. There
  would be no paper trail. YOUR BANK ISSUED THE NEW CARD WHICH WAS
  RECEIVED THIS WEEK, I DIDN'T REQUEST IT!
          /f do .abeiill




  Cc: CFPB and Others
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5110/2021                                                    Gmall Your Payment Has Been Processed




            Gmail                                                                                      Ivy landry <ivyiandry0@grnaii.com>



 Your Payment Has Been Processed
  1 message
                                _
  Credit One Bank <donotreply©creditonernall.corn>                                        Wed, Jan 6,2021 at 10:57 AM
  Reply-To: Credit One Bank <support-t>455s0ebftyu92auhtbrrnbzt56y973@creditonernail.com>
  To: ivylandry0@grnail.corn




                CreditOne
                       BANK
                                                                     Your Payment Has Been Processed
                                                                                                                      Visa — 6693




                       Dear IVY LANDRY,

                       Your payment of $150,00 has been processed.

                       Your reference number for this payment is 06JAN2021-0000357891.




                CreditOne
                       BANK



                       Do not reply directly to this automated email. Please contact Custom   Service at 1.B77B253242 if
                       you have any questions regarding your account.

                       Important Information from Credit One Bank

                       You are receiving this email because you are a Credit One Bank card member and this is an important
                       account communication regarding your payment

                       Your account information is included above to verify that Credit One Bank Is the sender of this email.
                       We will never ask for sensitive information such as your password, Social Security number, or account
                       number in an email. Click here to read more about account security arid fraud prevention_

                       Credit One Bank is committed to providing meaningful privacy protection for our card members. For
                       information on our Privacy Policy or how to contact us, please visit our website at CreditOneBank.corn.

https://rnail.google.com/rnall/u/57ik=b2804b8f408,view=pt&search=all&permthid=thr ad-f%3A1688153528479667549&simpl=msg-f%3A16881535284...   1/2
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                                                     Document      Page 7 of 14
5/10/2021                                                    Gmail - Your Payment Has Been Processed




            Gmail                                                                                      ivy landry <vyiandr0@grnaJLcorn>



 Your Payment Has Been Processed
 1 message
                                                                           _
 Credit One Bank <donotreply©creditonernall.00rn>                                       Tue, Nov 10, 2020 at 1245 PM
 Reply-To: Credit One Bank <support-1)464kcybftyu92auhtbrmbzt56ygy0@creditonerna .corn>
 To: ivylandry0@grnail.corn

                                                     Voio                   ctaxocr                               _5/z54601pc-/-



                 CreditOne
                   BANK
                                                                     Your Payment Has Been Processed
                                                                                                                      Visa — 6693




                       Dear IVY LANDRY,

                       Your payment of $400.00 has been processed.

                       Your reference number for this payment is I ONOV2020-0000495139.




                 CreditOrle
                    BANK


                       Do not reply directly to this automated email, Please contact Customer Serviceat 1-877825-3242 if
                       you have any questions regarding your account,

                       Important Information from Credit One Bank

                       You era receiving this email because you are a Credit One Bank card niembar and this is an important
                       account communication regarding your payment.

                       Your account information is Included above to verify that Credit One Bank is the sender of this email.
                       We will never ask for sensitive information such as your password, Social Security number, or account
                       number in an email. Click her to read more about account security and fraud prevention.

                       Credit One Bank is committed to providing meaningful privacy protection for our card members, For
                       information on our Privacy Policy or how to contact us, please visit our website at CreditOneBank.(mm.

https://rnaitgoogle.corn/rnail/u1571k=b2804b8f408,view=pt&search=all&pernithid=thnaad-f%3A16829962774899253008,simpl=msg-P/03A16829962774 .   1/2
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5/10/2021                                                        Gmait - Your Payment Has Been Processed



            Grnail                                                                                         ivy landry <ivylandry0@gm Loom>



  Your Payment Has Been Processed
  1 message

  Credit One Bank <donotreply@creditonemail.com>                                                                      Fri, Mar 19,2021 at 3:17 PM
  Reply To Credit One Bank <support-b1g82webftyli92auhtbrrnbzt56yg69©creditonemaii.corn>
  To: ivylandry0@gmall.com




                      CreditOne
                        BANK
                                                                         Your Payment Has Been Processed
                                                                                                                           Visa — 0187

                                                                                                                          #44-71-
                                                                             It   0.   fka,"C-734-e,            P


                          Dear IVY LANDRY,

                          Your payment of $159.95 has been processed.

                          Your reference number for this payment is 19MAR2021-0000977914,




                      Creditarle
                           II A NK

                           Do not reply directly to this automated email. Please contact Customer Service at 1-877-825-3242 if
                           you have any questions regarding your account.

                           Important Information from Credit One Bank

                           You are receiving this email because you area Credit One Bank card member and this is an important
                           account communication regarding your payment
                           Your account information is included above to verify that Credit One Bank is the sender of this email.
                           We will never ask for sensitive information such as your password, Social Security number, or account
                           number in an email. Click here to read more about account security and fraud prevention,

                           Credit One Bank is committed to providing meaningful privacy protection for our card members. For
                           Information on our Privacy Policy or how to contact us, please visit our website at CreditOrieBank.co

https://mail.googie    rn/mail/u/Vik=b2804b8f408iview---pt&search=all&permthid.thread-M3A16946891114180460128,simpl=msg-f%3A169468911141... 1/2
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Crfqiiprie
Payment History (Last 90 Days)

$100,00 Posted to Visa ...,0187 on Tuesday, April 272021
Pescriptibn: PAYMENT- THANK YOU LAS VEGAS NV
Reference:.74071933MOOXTIME

$209.95 Posted to Visa .,..0187 on Sunday, AprU 18, 2021
Description: PAYMENT - THANK YOU LAS VEGAS NV
Reference: 74071933Q00XTM.BP

$209.95 Posted to Visa ....0187 on Saturday, April 10, 0      Dio         „no               ov___iktvka
Description: PAYMENT - DEBIT CARD AS VEGAS NV
Reference: 74071933500XTMIIW

$209.95 Posted to Visa ....0187 on Thursday, April 08   021        ts a   n     rhakfz
Description: PAYMENT DEBIT CARD LAS VEGAS NV
Reference: 74071933200XTIvliK1

$209.95 Posted TO Visa ....0187 on Tuesday, March 30 2021
Description: PAYMENT - THANK YOU LAS VEGAS NV
Reference: /40 /1982100X11‘,1118

$159.95 Posted to Visa ....0187 on Eriday, March 19, 2021
Description: PAYMENT TI [A      YOU LAS VEGAS') NV
Reference: 74071932E00XT1413

$115.06 Posted to Visa „,.0187 on Wednesday, March 17,        21
Description: PAYMENT - TT-TANK YOU LAS VEGAS NV
Reference: 74071932Q00XTMIID

$348.14 Posted to Visa „...0187 on Monday; February 15, 2021
Description: PAYMENT - THANK YOIJ LAS VEGAS NV
Reference: 74071931E00KTMIJA
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                                                                             CreditOne'
                                                                                  BANK
                                                                              Office of the President




PE3101(00100880 -- 152131
                                     ""
IVY LANDRY
                                                                                       05/ 2/202I
1440 HIGHLAND LAKE pg
LAWRENCEVILLE, GA 30045-8272




RE: Account Number Ending In 7617 (VISA)
Case Number 20210505034


 Dear Ivy Landry,

 Credit One Bank received your communication dated May 3, 2021, forwarded from the
 Consumer Financial Protection Bureau.

 On July 30,2020, you spoke to a Customer Service Representative who, per your request,
 registered your routing number ending in 9817 and a checking account number ending in
 2900 from PUBLIX EMPL FCU.

 On April 17, 2021, you spoke with a Customer Service representative who, per your
 request, processed an ACH payment of $209,95 from the above-referenced checking
 account. The phone number 678-860-3621 that called in, is registered to you and
 Cassandra Landry, according to public records.

 On April 19, 2021, your account was temporarily suspended, as Credit One Bank has
 internal procedures in place that monitor accounts. These internal procedures are in place
 to help prevent fraud against our card members and Credit One Bank. A letter was sent
 to you informing you of the bank validation required to remove the suspension. We have
 provided a copy of that letter for your review.

 Later that same clay, the authorization(s) were declined due to the account suspension.

 On April 27, 2021, you spoke with a Customer Service representative who, per your
 request, processed an ACH payment of $100.00 from the checking account ending in
 2900. Our records reflect that the phone number that called in was 678-860-3621. In
 addition, you were advised of the account status and that documents were required in
 order to reinstate the account. At that time, you declined to send the documents.

 On May 3, 2021, you spoke to multiple Customer Service Representatives, regarding the
 account status. Each time, you were advised that documents were required in order to
 P9034/AXXXXXXXX
                    Ra Box 98876, Las Vegas. NV 89193-8876 P 800-749-4900
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reinstate the account. Per your request, your concerns were forwarded to the appropriate
department requiring a call back.

On May 4, 2021, we attempted to contact you regarding your concerns; however, we were
unsuccessful.

Per our phone conversation on May 11, 2021, we reinstated your account and processed
a Lost/Stolen report on your account ending in 0187 and a new account ending in 7617
was established. In addition we updated your contact information to reflect an address of
1440 Highland Lake Dr., Lawrenceville, GA 30045.

Additional information is required to conduct an investigation of the transaction(s) you are
claiming as fraudulent. Please complete and sign the form included with this communication
and return it to the following address within 45 days of receipt of this letter. If we do not
receive the document within the specified timeframe, the investigation may be closed and
you may be held accountable for the account transactions,

Credit One Bank recommends that you establish a fraud alert with the consumer reporting
agencies. This alert requires creditors to contact you at the phone number listed on the
alert before processing an application. You may contact the agencies at:

       Equifax                            Experian                      TransUnion
       RO, Box 740256                     RO. Box 2002                  RO, Box 2000
       Atlanta, GA 30374                  Allen, TX 75013               Chester, PA 19022
       800-685-1111                       888-397-3742                  800-888-4213

 Your new credit card ending in 7617 will be mailed via FedEx Rush Delivery. The Rush
 Delivery Fee has been waived You should receive your new credit card within 3-5 business
 days from the date of this communication. If you do not receive your card within this
 tirneframe, please contact us at the phone number listed below.

 As of the date of this letter, your account is open with a balance of $156,61.

 We have forwarded the concerns you expressed to the appropriate department for review.
 While we are unable to share the results, we greatly appreciate you sharing your
 experience.

 If you have any additional questions, please call our office at 800-749-4900, Monday
 through Friday between 6:30 a.m. and 3:00 p.m. (Pacific Time).

 Sincerely,

 Credit One Bank, N.A.




 PR034/AXXXXXXXX
                    PO. Box 98876 bs Vegas, NV 891938876 P 00-749-49 0
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                                                                                  CredttOne
                                                                                     ;

      Please complete and return the information below. DO NOT MAIL WITH YOUR PAYMENT.
      To upload the document(s) online, sign in to your Credit One Bank account and visit the 'Customer
      Service page, then click on 'Forms & File Uploads' and select 'Supporting documentation for
      Submitted Claim'. You may also send the document(s) to the address listed below and note your
      account number on any submitted documents,

             Credit One Bank
             P.O. Box 98873
             Las Vegas, NV 89193-

      Amount of charge $                                 rctnt Name
      Reference Number
      Transaction Date
      I have examined the charges made to my ac ount and dispute/request credit for the following;
  0 I am only requesting a copy of the above transaction. I do not have any billing dispute regarding
    validity of the transaction or the amount as stated above. Please provide the specific reason
    sales draft Is needed (I.e.) tax purpose, return of merchandise, divorce litigation, etc.



  •   I authorized/did not authorize (circle one) the transaction with the merchant for
                            (If additional space is needed, please use back of form or separate page)

 ID   Neither I, nor anyone authorized y mengaged in the above disputed transaction with the same
      merchant. My cards have remai      in ry possession.

 O Neither I, nor anyone authorize           aged in the above transaction,
                                                   -
 O The attached credit slip has not appea4ed    y statement
 ID The attached credit slip was listed as a    to    my statement.
 O The amount of the sales slip was increased from $                                       or the sales
   slip was added incorrectly.

       have contacted the merchant for a credit. Please credit my account due to one.of the following
      reasons (please include any pertinent rerPipts or eorrespondence
  O Merchandise was to be shipped/received on                      (Date) has not been received.
    Following is the merchant's response to my call(s) and/or correspondence:



 D Merchandise was returned on                        (Date). Attached are copies of the UPS or
   postal receipt, merchant's return policy/guarantee. Following is the merchant's response to my
   call(s) and/or correspondence:
 fl The membership/subscription/recurring service was cancelled with the merchant
    on             (Date) cancellation number       by mail or phone/In person due to the
    following reason(s)

      Printed Name,                                      Last 4 of account number:
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 0 My card was used to secure this purchase but payment was made by cash, check, or another
   card, Attached are copies of the cancelled check (front and back), cash receipt or other
   account statement showing the transaction,

 0 I cancelled my reservation with the above merchant on                    (Date) and was provided
   the following Cancellation number

    If the disputed transaction was not authorized by you, please answer the following:

           Are you in possesson
                             i of your card? Yes         No L_                                   1
           What was the date the card was lost? (if ap 1 b e)i CAL,r                             V
           When was the card stolen? (if applicable)          2
           Do you know who made the disputed charge(s)? Yes         No

    Additional details toassist in the investigation;




    Printed Name:                                           Last 4Of accbunthumber:

    Signature:                                                            Date;

    Home Telephone:                                     Work Telephone:
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P.O. BOX 98873
LAS VEGAS NV 89193-8873



                                                                                                                        CreditOne'    A    N     K
  April 19, 2021



         S-SFMCCS10 L-FF063A-5163641703
         PDYFTR00500525 -662267486100462

         IVY LANDRY
         PO BOX 1275
         GRAYSON GA 30017-0024




  RE: Account Number Ending In 0187


  Dear IVY LANDRY,

  This letter is to inform you that we were unable to verify the folloWing payment(s) that were submitted
  to the above-referenced Credit One Bank account:

  •       Date: 18/04/2021                      ACH                   Amount           $ 209.95

  Because the payment(s) could not be verified, we have temporarily suspended your account, In order
  to reactivate the account, we need a bank statement or printed transaction detail report from your
  bank showing the indicated payment(s). Please send the document to the address below or sign in to
  your Credit One Bank account and visit the 1Custorner Service page, then click on 1Forms& File
  Uploads'.

  The document must include:

          •     Bank name
          •     Date of payment(s)
          •     Payment amount(s)
          •     Payee name (Credit One Bank)

  If we do not receive the requested documentation within 30 days of the date of this letter, the
  above-referenced account will be closed and no further action will be taken. The account will be
  reported to the consumer reporting agencies as "Account Closed by Credit Grantor."

  If you have additional questions, please call Customer Service at 877-825-3242 between 5:00 a.m.
  and 9:00 p.m. Monday through Friday, or between 6:30 a.m. and 5:00 p.m. on Saturday and Sunday
  (Pacific Time),

   Sincerely,

   Credit One Bank, N.A.


      NOTICE: The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color,
      religion, nationalorigin, sex, marital status, age (provided the applicant has the capacityto enter into a binding contract), because all or part of the
      applicant's Income derives from any public assistance program, or because the applicant has in good faith exercised any right under the Consumer
      Credit Protection Act The federal agency that administers compliance with this law concerning this creditor is the Office of the Comptroller of the
      Currency, Customer Assistance Group, 1301 McKinney Street Suite 3450, Houston, Texas 77010-9050,




                                       P,O. Box 98873, Las Vegas, NV 89193-8873 P 877-825-3242
      FF083;5163 1703
